
ORDER **
Respondent’s Motion to Remand is GRANTED. The case is remanded to apply In re Davey, 26 I. &amp; N. Dec. 37 (B.I.A.2012), as appropriate.1
The parties shall bear their own fees and costs on appeal. This order shall serve as the mandate of this court.

 This disposition is not appropriate for publication and is not precedent except as provided by Ninth Circuit Rule 36-3.


. The dissent asserts that we are implicitly approving In re Davey "as properly decided.” We are not. The government has asked for an opportunity to allow the BIA to reconsider this case. On reconsideration, the BIA may apply In re Davey, or it may choose to decide the case on other grounds, in which event any substantive decision that we might make about In re Davey would be premature. Moreover, even if the BIA decides to apply In re Davey here, and one of the parties petitions for review, then we can review the concrete application of that rule to an issue that the BIA will have decided in this case.

